      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 1 of 27    1




 1                  IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF COLUMBIA

 3   UNITED STATES OF AMERICA       .
                     Plaintiff,     .
 4   vs.                            .       Docket No. CR 20-55-TFH
                                    .
 5   JACOB JORDAN                   .       Washington, D.C.
                                    .       Wednesday, March 11, 2020
 6                   Defendant.     .
     . . . . . . . . . . . . . . . .x       11:34 a.m.
 7

 8                    TRANSCRIPT OF DETENTION HEARING

 9         BEFORE THE HONORABLE SENIOR JUDGE THOMAS F. HOGAN

10                     UNITED STATES DISTRICT JUDGE

11   APPEARANCES:

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23

24   Proceedings recorded by machine shorthand, transcript
     produced by computer-aided transcription.
25
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 2 of 27         2




 1                         P R O C E E D I N G S

 2              THE DEPUTY CLERK:     Your Honor, this is the matter

 3   United States versus Jacob Jordan.        This is Criminal Record

 4   20-55.

 5              Ask the parties to step forward and identify

 6   yourselves for the record, please.

 7              MR. NELSON:    Good morning, Your Honor, James

 8   Nelson for the United States.

 9              THE COURT:    All right.     Mr. Nelson.

10              MR. NORRIS:    Good morning, Your Honor, Attorney

11   Jon Norris on behalf of Mr. Jordan.

12              THE COURT:    Mr. Norris, good to see you.

13              MR. NORRIS:    Good to see you.     Your Honor, I

14   wanted to thank both the Court and your clerk, Mr. Smith,

15   for accommodating my schedule today.        This matter was moved

16   from earlier ten o'clock because I had a conflict.

17              THE COURT:    That's fine.

18              We're ready to proceed in this.        We had in

19   Mr. Jordan's situation I've gotten materials from the

20   magistrate judge as to the decision ordered detention

21   pending trial and any concerns about that.         We can hear as

22   well as where we are from Mr. Nelson as to discovery and

23   what his, give me an update where we are in the case.             Let

24   me start with Mr. Nelson first, please.

25              MR. NELSON:    Yes, Your Honor, thank you.         We have
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 3 of 27     3




 1   provided full discovery to Ms. Jahn including all the body

 2   worn camera footage, everything that we have at this time.

 3   It's my understanding from Ms. Jahn that file has been made

 4   available to Mr. Norris.      So at this time we don't, we do

 5   anticipate further potential discovery in terms of testing

 6   on the narcotics and the firearm, but we don't have anything

 7   in our possession at this time.

 8              THE COURT:    All right.    When reading through the

 9   record it appears he made statements?

10              MR. NELSON:    Yes, Your Honor.     He made some

11   statements to the effect that he had sold the meth to the

12   person that bought it, but then invoked and no further

13   questions were asked.

14              THE COURT:    All right.    He had a Miranda warning

15   at that time?

16              MR. NELSON:    I believe, Your Honor.      It's on the

17   body worn camera footage originally been provided.          I

18   haven't reviewed that footage just quite yet.

19              THE COURT:    All right.    Just thinking about

20   motions that may be coming up, et cetera.

21              MR. NELSON:    Yes, Your Honor.

22              THE COURT:    All right.    Thank you.

23              Mr. Norris, let me know where you are on this and

24   what proceedings you're interested in pursuing now.

25              MR. NORRIS:    Yes, Your Honor.     I agree with the
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 4 of 27              4




 1   representations made by Mr. Nelson.        For the Court's

 2   information I was just retained yesterday afternoon.              I

 3   reached out both to Ms. Jahn and Mr. Nelson and to

 4   Mr. Smith.     I just this morning minutes before the hearing

 5   started received, Ms. Jahn's file, so I do have the

 6   discovery that she had.      I just have not yet had a chance to

 7   go through that or review it.       Everything is on track as

 8   Mr. Nelson said.

 9                My guess is, and we've not really discussed the

10   time frame, I'm going to suggest that we have a further

11   status in about 30 days, that will give me time to digest

12   what I have and go over it with Mr. Jordan, my client.                I am

13   prepared to address the bond motion that was filed by

14   Ms. Jahn today if the Court is inclined to do so.

15                THE COURT:   She did file that based upon

16   magistrate judge's decision to hold him without bond at this

17   time, so we can certainly discuss that if you're prepared to

18   do that.     And additionally as to discovery and reviewing

19   that I think you do need the time to review it.          Obviously,

20   apparently some statements.      There's apparently a controlled

21   buy I assume other evidence that was seized on the basis of

22   a search warrant at the premises of Mr. Jordan as well.

23                So we can take up that at the appropriate time.

24   We'll give you some more time to do that.         I think we should

25   today go ahead and settle up with the bond one way or
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 5 of 27     5




 1   another and let me hear about that and hear what the

 2   government has to say on that.       As I said I did review the

 3   finding.

 4              MR. NORRIS:    Very well, Your Honor.      Just so the

 5   Court knows I have reviewed the magistrate, the order and

 6   the pleadings submitted by the parties.        I was not present

 7   at the hearing, so thank you.

 8              Do you want to hear from the government first or

 9   from me first, Your Honor?

10              THE COURT:    Let me hear from you as to this about

11   his situation.    I read the government's brief that they

12   filed, opposition for the brief to release him with the

13   evidence they attached and then the magistrate judge's

14   ruling on that.    And I understand from reading that a little

15   bit about Mr. Jordan's background; although, I don't have a

16   full picture of that.

17              MR. NORRIS:    Thank you.    I think I can flush that

18   out a little bit, Your Honor.       Your Honor, I would start by

19   saying I think it's important to note that the magistrate

20   judge while detaining Mr. Jordan did not apply the

21   presumption of dangerousness because of his complete lack of

22   a criminal record and also some of the positive, many

23   positive things in his background.

24              Now I do understand the seriousness of this case.

25   I understand that the government focuses on the seriousness
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 6 of 27            6




 1   of this case, and I'm not trying to downplay that at all,

 2   Your Honor.   But I do think that we can put it in context

 3   and we can explain to the Court why he is not likely to be a

 4   danger to society.

 5              Again, he has no prior criminal history.         He was

 6   honorably discharged from the Marines after eight years of

 7   service, I believe from 2006 to 2014.        While he was in the

 8   Marine Corps he went in as military police.         He received a

 9   number of promotions in terms of his responsibility.              At one

10   point he was on Marine security guard detail both to

11   embassies and was even cleared for presidential duty as a

12   Marine, Your Honor.

13              And I understand that the government makes a big

14   argument about that's the individual that Mr. Jordan used to

15   be and now he's a different individual.        He is a drug

16   dealer.   I can tell the Court that things are usually not

17   quite as black and white as that, and there's areas of gray.

18   And while again, we're not disputing the seriousness of the

19   offense, I think it's important to note that as part of his

20   Marine service when he was discharged there were mental

21   health issues having to do with post traumatic stress

22   syndrome to the extent, Your Honor, that he has not just an

23   emotional support animal, but an actual service dog.

24              And part of what the service dog does is it's my

25   understanding that it's not uncommon for Mr. Jordan to
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 7 of 27           7




 1   basically have bouts of what I'm going to use a layman's

 2   terms night terrors, that he wakes up in the middle of the

 3   night from his sleep, reliving some of the things he

 4   experienced in the Marine Corps, and literally crying out

 5   either in fear or in anguish.       And the dog is there to

 6   really help him get through those types of incidents.             And I

 7   think that that is an important part of his sort of

 8   recovering mental health wise from PTSD.

 9              I would submit that the drug dealing that is

10   alleged in this case and that occurred, Your Honor, has

11   something to do with his, and again I'm going to use the lay

12   term of his self-medicating.      I don't think he started at

13   the type of quantities that are involved in this case.             I

14   think he started by probably using drugs himself.          And then

15   as not an uncommon cycle as people use they start to sell

16   and as they start to sell maybe more occurs.

17              But I don't want the Court to get the impression

18   that that's all he is these days because I don't believe

19   that's correct.    He was at Walter Reed Army Hospital.           And

20   it's hard for me to use that term because I grew up on the

21   grounds of the Bethesda Naval Hospital and it's now referred

22   to as Walter Reed.     But he was there for a number of years

23   as a nurse orderly working with some of the most severe

24   trauma patients coming back from conflicts in the Middle

25   East.   And apparently, he was very appreciated by the young
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 8 of 27       8




 1   men and women that he was assisting because of his knowledge

 2   and experiences of what they were going through.

 3               In addition, the VA is assisting him with his

 4   further studies.    He's studying neuroscience at George

 5   Washington University.     He's fully enrolled at George

 6   Washington University and the VA is helping him with that.

 7   So there really is I think a larger picture than just the

 8   criminal activity that is alleged in this case.          And again,

 9   I don't mean to downplay the seriousness of that activity,

10   but I think the Court can fashion conditions of release that

11   certainly will show that he's not a danger to the community.

12               I don't think risk of flight is really an issue

13   even though the government did address that that he has a

14   passport.    He would be willing to turn in his passport, Your

15   Honor.   He does have support in this area.        He has a very

16   close family friend who is in court here today.          He's

17   originally from Colorado, and his family is aware that he's

18   been charged, Your Honor, and they're willing to do whatever

19   they can to assist as well.

20               And so for all those reasons, Your Honor, we think

21   the HISP program, and if the Court wanted to start with a

22   24 hour house arrest and then at some point move to the more

23   common requirements of the HISP program with the 10 p.m. to

24   6 a.m. curfew that would allow him to attend classes and any

25   other sort of mental health appointments that he has.
      Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 9 of 27      9




 1              We do think that this is the rare case that

 2   involves these types of quantities where the Court can

 3   fashion conditions, Your Honor, and he is very use to

 4   following orders, Your Honor.        I feel confident that any

 5   conditions the Court put in place he would scrupulously

 6   honor.

 7              THE COURT:    What were the circumstances of his

 8   release from the Marine Corps for medical reasons?

 9              MR. NORRIS:    It was an honorable discharge, but it

10   did have to do with emotional PTSD issues.

11              THE COURT:    Is that from combat or just being,

12   serving in the hospital situation?        What was it?

13              MR. NORRIS:    He did both.     He did serve in combat,

14   several tours, Your Honor.

15              THE COURT:    Okay.     I know that can cause severe

16   difficulties.

17              MR. NORRIS:    And Your Honor, there's one other

18   point if I could address, which is any inference of

19   dangerousness from the weapon that's involved in this case.

20              THE COURT:    That was my next question.

21              MR. NORRIS:    I honestly believe that the weapon in

22   this case was not a weapon that was used in furtherance of

23   the drug dealing activities.        As former military his father

24   was a Marine Corps recruiter and so he grew up in a Marine

25   Corps family in Colorado.        Firearms were something that he
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 10 of 27     10




 1   grew up around.    My understanding, and I think the

 2   government had something different in their pleading, and if

 3   I am incorrect they will correct me on it.

 4             My understanding was that while there was a

 5   magazine with ammunition near the gun that the magazine was

 6   not in the gun nor was there a round in the chamber.          And

 7   that that was sort of a safety protocol that he grown up

 8   with, that the gun was available but it was not armed and

 9   imminently dangerous.

10             If for any reason I am incorrect on my

11   understanding of that, again, I'm sure Mr. Nelson will

12   correct me on that.     But in either way the gun is something

13   that he had prior to going to the military, while he was in

14   the military, and was not something that he obtained for the

15   purposes of drug dealing while armed, Your Honor.

16             THE COURT:     All right.    Thank you.

17             MR. NORRIS:     Thank you, sir.

18             THE COURT:     Let me ask the government about the

19   representations of lack of dangerousness because of his

20   background and history, the magistrate judge's comment about

21   that basically, and why there's any danger of flight in this

22   case.

23             MR. NELSON:     Well, Your Honor, I believe

24   Magistrate Judge Meriweather found that there was no risk of

25   flight, but rather that although the defendant had overcome
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 11 of 27    11




 1   the presumption of dangerousness that she still found that

 2   the risk of dangerousness weighed in favor of detention

 3   rather than release.

 4                And I would note, Your Honor, that two things;

 5   first of all, that magazine was in the firearm when the

 6   police found it.     There was no round in the chamber, but the

 7   magazine was in the firearm.

 8                I find counsel's comments with regard to

 9   self-medication to be interesting given the test results

10   from the Pretrial report as to his lock up which came back

11   clean or no positive tests available.        And so I think what

12   we have here, Your Honor, is a situation where Mr. Norris

13   has a good faith argument and he's making it and that's

14   reasonable.     But at the end of the day, Your Honor, the

15   facts are what they are, and the factors weigh in favor of

16   detention.

17                You know, the defendant is not the only person in

18   this room from a military family, and he's certainly not the

19   only one whose fought for our country and come back with

20   PTSD.   I certainly know many of those people.        I know that a

21   lot of people do as well.     It's not an excuse to engage in

22   armed drug dealing, and the suggestion that the PTSD that

23   he, you know, suffers from as a result of seeing combat

24   should entitle him to being treated differently than any

25   other criminal that comes before Your Honor or alleged
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 12 of 27    12




 1   criminal that comes before Your Honor is frankly distasteful

 2   and does a disrespect to their service.

 3                A lot of people come back with PTSD and wind up

 4   taking their own lives.       They don't go out and acquire

 5   enough methamphetamine to have seven pounds of it in their

 6   house at any one time.       And respectfully, Your Honor, at the

 7   risk of stepping out of line I find that argument to be

 8   offensive.

 9                THE COURT:    How about the situation with his

10   health and having had a service dog and now being confined

11   for however long it takes to resolve this matter, not having

12   any medical care, et cetera, that he may need, considering

13   he can get that if he's released?

14                MR. NELSON:    I understand that, Your Honor, and I

15   apologize for disrupting.       I know that CTF is available for

16   mental health treatment and medical treatment.         I don't know

17   that they have service dogs there.       I suspect they don't.     I

18   know that the defendant's service dog was with him in the

19   apartment when he was dealing methamphetamine.         He was there

20   when the police arrived to execute the search warrant, so I

21   don't know that the dog makes him any less dangerous or

22   makes him any less likely to commit a crime.

23                And I would -- you know, this is a fact that I may

24   have been aware of, but didn't register until just this

25   moment when Mr. Norris mentioned it.       The fact the defendant
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 13 of 27     13




 1   served as a military police officer cast this crime in a

 2   whole -- even more, a more intense light.        The fact that he

 3   would not only serve his country in uniform, but as a police

 4   officer charged with defending and protecting other people

 5   and then stoop to this level of criminality, Your Honor,

 6   speaks far more highly to his characteristics as a person

 7   than does his lack of a criminal record.

 8              In fact, his training as a police officer may be

 9   why he doesn't have a criminal record, his ability to use

10   his knowledge, his personal skill to evade capture.

11              THE COURT:    All right.    Thank you.

12              MR. NELSON:    Thank you, Your Honor.

13              THE COURT:    I must say I am concerned about for

14   Mr. Jordan's sake for his situation, health situation

15   concerns me about his situation having been placed in the DC

16   jail.   At the same time, I obviously have the findings of

17   the magistrate judge considering the circumstances of the

18   case that's pending against him.       He's certainly entitled to

19   presumption of innocence in that.       He should be released if

20   there are any conditions that can be immediately set that

21   could satisfy the Court to his lack of flight and lack of

22   dangerousness he presents to the community.

23              And it does concern me as I said particularly

24   about his health situation and essentially those needs.

25   I'll have to talk to Mr. Norris someday about his growing up
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 14 of 27     14




 1   at Bethesda Medical Center since I grew up there.          That

 2   doesn't affect the judgment in this case being from a

 3   military family.

 4                I'm going to deny the request, and I'm going to

 5   make the following findings and give the reasons why for

 6   Mr. Jordan.     I'm going to ask that he be considered for

 7   transfer to the CTF for appropriate medical care if he's not

 8   been getting for his situation, where that would include

 9   medication to help him or other concerns that he may have.

10   But it appears to the Court that the factors under 18 U.S.C.

11   3142 factors weigh in favor of detention, unfortunately.

12                The nature and circumstances of the offense which

13   are strongly against Mr. Jordan, a lot of the strength of

14   the evidence and consideration of his dangerousness and risk

15   of flight.     Dangerousness to the community is extreme, I

16   think, and risk of flight I'm not sure about.         He's not from

17   here.    He doesn't have family here.     He has a friend here,

18   but without the ability to earn anymore money apparently, I

19   don't know where he could live and how he would survive.

20                The nature of the offense is bothersome to the

21   Court.    It's a large quantity of methamphetamine which have

22   caused so much damage to our society here.        Then possessing

23   a firearm whether it's in connection with the drug

24   trafficking offense or not it was not a licensed firearm he

25   could have.     And the weapon apparently had the magazine
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 15 of 27      15




 1   within the handle although not in the chamber.         He has

 2   experience with firearms from his life experience and his

 3   military training and knows how to use them.

 4              The drug trafficking charge with seven pounds of

 5   methamphetamine, four left after his sale to a cooperating

 6   source who purchased approximately 3.2 pounds, presents very

 7   strong evidence of danger to the community.         The additional

 8   evidence concerned the Court because not only the Smith and

 9   Wesson, but then there was cash.       And the government

10   produced evidence Mr. Jordan deposited $40,000 in cash in

11   his bank account in the last month and a half or so prior to

12   his arrest, which seems to indicate to the Court at least

13   he's a danger to the community because he's a fairly high

14   level dealer.   And the strength of that evidence I think

15   right now at least is undisputed that weighs in factor of

16   pretrial detention.

17              The purchase by a cooperating source and immediate

18   then search pursuant to a search warrant was discovered

19   that's already been discussed along with other drug

20   paraphernalia for packaging and selling the drugs that

21   included numerous bottles.      I believe there's other evidence

22   as well into what can be used for packaging and selling the

23   drugs, and the drugs were sold were not to a user for one

24   day use.   It was obviously entering into a substantial sale.

25              The dangerousness concerns the Court.        I just
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 16 of 27   16




 1   don't think I can rely upon Mr. Jordan with these contacts

 2   he must have to buy substantial, large quantities of

 3   methamphetamine to be out even under 24 hour curfew without

 4   being able to get on the phone and dealing, and to attempt

 5   to get money to meet his present situation.

 6              I don't think that the high intensity supervised

 7   release would be sufficient to reasonably assure the safety

 8   of the community in that regard.       Judge Meriweather found

 9   that his background was positive, that he had served in the

10   Marine Corps for eight years, honorably discharged for

11   medical reasons.    It's been presented to me that he's had

12   substantial trauma while serving his country.

13              He's under treatment, that his emotional support

14   dog is essential to his daily functioning, and that he's had

15   a blameless life until now.      I've taken that into account.

16   I cannot find, however, that placed in home confinement

17   through the High Intensity is sufficient again as I said to

18   assure the safety of the community.

19              I would hope that he can be properly handled

20   during the tendency of this matter at least in an

21   appropriate facility here in DC and does not suffer more

22   because of his mental health situation, that would be unfair

23   to him because he's not able to get out on bond.

24              The additional concerns I have he has no health

25   care.   He was under treatment.     He still managed to enter
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 17 of 27     17




 1   into dealing in large quantities of methamphetamines with a

 2   handgun that's not legal in DC.      And I don't quite know how

 3   that ties in to his excellent background and history.

 4             So I don't see how I can feel comfortable that he

 5   can be released on some type of supervised release and not

 6   enter back into this.     There's no way I can be assured that

 7   he would not get back into this situation he's in for

 8   whatever reasons he did according to the strength of the

 9   government's evidence at least.

10             So under 3142 Title 18 reviewing the conditions

11   and combination of conditions I cannot find they would

12   overcome any dangers to the community I couldn't be able to

13   impose at this time.     I'd be willing to reconsider this in

14   the future if there is additional evidence that comes forth

15   as to his situation and what the history and background is

16   that may not have been able to be brought up by Mr. Norris

17   today since he was just retained, but at this time I will

18   deny the motion for pretrial release at this time.

19             I need to reschedule a hearing 30 days

20   approximately.

21             MR. NORRIS:     Yes, Your Honor.     And, Your Honor, I

22   understand the Court's ruling and I don't want to further

23   address that.    I just from hearing the Court's concerns both

24   for the safety of the community and for his mental health I

25   wondered if the Court might consider a halfway house
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 18 of 27      18




 1   placement with him only allowed release to meet with mental

 2   health professionals not even to attend his school duties,

 3   but just for meetings.

 4                THE COURT:    I appreciate that.   No, I haven't

 5   found the halfway house to be very secure.         There have been

 6   severe problems.

 7                MR. NORRIS:    Thank you.

 8                THE COURT:    About 30 days from now, today being

 9   the 11th.     So we're talking somewhere around the 8th or 9th

10   of April.     Is that all right?    Or to the --

11                MR. NORRIS:    Your Honor, I'm likely to be in trial

12   that week.     Would the Court consider setting it the

13   following week?

14                THE COURT:    The following week I've got two

15   matters set on the 15th for hearings on the, April 15th

16   already.     I've got a matter set -- I can probably set this

17   on April 16th at 11.       I got a ten o'clock hearing all right

18   we're going to be doing.

19                MR. NORRIS:    The 16th is a good day for the

20   defense, Your Honor.

21                THE COURT:    Let me ask the government how that

22   looks for Mr. Nelson?

23                MR. NELSON:    Your Honor, the morning of the 16th

24   is clear for me.     That works for me.

25                THE COURT:    The 16th works?   All right.    We'll
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 19 of 27   19




 1   have the parties back then.      Mr. Jordan, we'll have you back

 2   on April 16th at 11 a.m.     Hopefully that will give you and

 3   your counsel a chance to examine this case further and look

 4   into the situation with the government and see if it's going

 5   to resolve in this matter or not.

 6             What about the speedy trial between now and then,

 7   right now speedy trial is June 1st?

 8             MR. NORRIS:     Your Honor, if I can have just a

 9   moment to speak to my client.

10             THE COURT:     All right.

11             [Brief pause.]

12             MR. NORRIS:     Your Honor, he's willing to waive his

13   speedy trial rights between now and the next hearing date.

14             THE COURT:     The government's --

15             MR. NELSON:     Under the circumstances with new

16   counsel and the need to review I think it's appropriate,

17   Your Honor.

18             THE COURT:     All right.    I'm going to make findings

19   under the speedy trial it's in the public's interest and

20   interest of justice on behalf of the defendant to suspend

21   the speedy trial time and suspend it from today until

22   April 16th, will be excluded from the speedy trial

23   computation so the defendant can adequately prepare the

24   case, review the case with his counsel, Mr. Norris, who was

25   just retained and begin to address the issues in the case
     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 20 of 27   20




 1   after he's had a chance to get all the discovery from the

 2   government and review it.

 3             We'll extend the speedy trial then.         We'll be back

 4   then on April 16 at 11 a.m.

 5             MR. NORRIS:     Thank you, Your Honor.

 6             THE COURT:     Good to see you.

 7             MR. NELSON:     Thank you, Your Honor.

 8             THE COURT:     Thank you.

 9             [Thereupon, the proceedings adjourned at 12:02

10             p.m.]

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     Case 1:20-cr-00055-TFH Document 20 Filed 03/20/20 Page 21 of 27   21




 1                              CERTIFICATE

 2             I, Cathryn J. Jones, an Official Court Reporter

 3   for the United States District Court of the District of

 4   Columbia, do hereby certify that I reported, by machine

 5   shorthand, the proceedings had and testimony adduced in the

 6   above case.

 7             I further certify that the foregoing 20 pages

 8   constitute the official transcript of said proceedings as

 9   transcribed from my machine shorthand notes.

10             In witness whereof, I have hereto subscribed my

11   name, this the 18th day of March, 2020.

12

13
                                     /s/_Cathryn J. Jones
14                                   Cathryn J. Jones, RPR
                                     Official Court Reporter
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23

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25
                                                           apparently [5] 4/20 4/20 7/25 14/18
         Case 1:20-cr-00055-TFH6 Document 20 Filed 03/20/2014/25
                                                             Page 22 of 27
MR. NELSON: [11] 2/6 2/24 3/9 3/15     6 a.m [1] 8/24
3/20 10/22 12/13 13/11 18/22 19/14                                              APPEARANCES [1] 1/11
                                       6521 [1] 1/21
20/6                                                                            appears [2] 3/9 14/10
                                       6986 [1] 1/14
                                                                                apply [1] 5/20
MR. NORRIS: [17] 2/9 2/12 3/24 5/3
5/16 9/8 9/12 9/16 9/20 10/16 17/20    8                                        appointments [1] 8/25
                                       8th [1] 18/9                             appreciate [1] 18/4
18/6 18/10 18/18 19/7 19/11 20/4
                                                                                appreciated [1] 7/25
THE COURT: [28]
THE DEPUTY CLERK: [1] 2/1              9                                        appropriate [4] 4/23 14/7 16/21 19/16
                                       9th [1] 18/9                             approximately [2] 15/6 17/20
$                                                                               April [6] 18/10 18/15 18/17 19/2 19/22
$40,000 [1] 15/10                      A                                         20/4
                                      a.m [4] 1/6 8/24 19/2 20/4                April 15th [1] 18/15
.                                     ability [2] 13/9 14/18                    April 16 [1] 20/4
.x [1] 1/6                            able [4] 16/4 16/23 17/12 17/16           April 16th [3] 18/17 19/2 19/22
                                      about [17] 2/21 3/19 4/11 5/1 5/10        are [9] 2/22 2/23 3/23 6/16 7/13 11/15
/                                      5/15 6/14 10/18 10/20 12/9 13/13          11/15 13/20 14/13
/s [1] 21/13                           13/15 13/24 13/25 14/16 18/8 19/6        area [1] 8/15
                                      above [1] 21/6                            areas [1] 6/17
0                                     accommodating [1] 2/15                    argument [3] 6/14 11/13 12/7
0300 [1] 1/18                         according [1] 17/8                        armed [3] 10/8 10/15 11/22
                                      account [2] 15/11 16/15                   Army [1] 7/19
1                                     acquire [1] 12/4                          around [2] 10/1 18/9
10 [1] 8/23                           activities [1] 9/23                       arrest [2] 8/22 15/12
11 [2] 1/5 18/17                      activity [2] 8/8 8/9                      arrived [1] 12/20
11 a.m [2] 19/2 20/4                  actual [1] 6/23                           as [33]
11:34 [1] 1/6                         addition [1] 8/3                          ask [4] 2/5 10/18 14/6 18/21
11th [1] 18/9                         additional [3] 15/7 16/24 17/14           asked [1] 3/13
12:02 [1] 20/9                        additionally [1] 4/18                     assist [1] 8/19
15th [2] 18/15 18/15                  address [5] 4/13 8/13 9/18 17/23          assisting [2] 8/1 8/3
16 [1] 20/4                            19/25                                    assume [1] 4/21
16th [6] 18/17 18/19 18/23 18/25 19/2 adduced [1] 21/5                          assure [2] 16/7 16/18
 19/22                                adequately [1] 19/23                      assured [1] 17/6
18 [2] 14/10 17/10                    adjourned [1] 20/9                        attached [1] 5/13
18th [1] 21/11                        affect [1] 14/2                           attempt [1] 16/4
1st [1] 19/7                          after [3] 6/6 15/5 20/1                   attend [2] 8/24 18/2
                                      afternoon [1] 4/2                         Attorney [1] 2/10
2                                     again [6] 6/5 6/18 7/11 8/8 10/11         ATTORNEY'S [1] 1/12
20 [1] 21/7                            16/17                                    AUSA [1] 1/12
20-55 [1] 2/4                         against [2] 13/18 14/13                   available [4] 3/4 10/8 11/11 12/15
20-55-TFH [1] 1/4                     agree [1] 3/25                            Avenue [1] 1/22
20001 [2] 1/18 1/22                   ahead [1] 4/25                            aware [2] 8/17 12/24
2006 [1] 6/7                          aided [1] 1/24
2014 [1] 6/7                                                                    B
                                      all [18] 2/9 3/1 3/8 3/14 3/19 3/22 6/1
202 [2] 1/14 1/18                      7/18 8/20 10/16 11/5 13/11 18/10         back [9] 7/24 11/10 11/19 12/3 17/6
2020 [2] 1/5 21/11                     18/17 18/25 19/10 19/18 20/1             17/7 19/1 19/1 20/3
20530 [1] 1/14                        alleged [3] 7/10 8/8 11/25                background [6] 5/15 5/23 10/20 16/9
24 [1] 16/3                           allow [1] 8/24                            17/3 17/15
24 hour [1] 8/22                      allowed [1] 18/1                          bank [1] 15/11
250 [1] 1/17                          along [1] 15/19                           based [1] 4/15
252-6986 [1] 1/14                     already [2] 15/19 18/16                   basically [2] 7/1 10/21
                                      also [1] 5/22                             basis [1] 4/21
3                                                                               be [25]
                                      although [3] 5/15 10/25 15/1
3.2 pounds [1] 15/6                   am [4] 4/12 10/3 10/10 13/13              because [10] 2/16 5/21 7/18 7/20 8/1
30 [3] 4/11 17/19 18/8                AMERICA [1] 1/3                           10/19 15/8 15/13 16/22 16/23
3142 [2] 14/11 17/10                  ammunition [1] 10/5                       been [10] 3/3 3/17 8/18 12/24 13/15
333 [1] 1/22                          anguish [1] 7/5                           14/8 15/19 16/11 17/16 18/5
371-0300 [1] 1/18                     animal [1] 6/23                           before [4] 1/9 4/4 11/25 12/1
                                      another [1] 5/1                           begin [1] 19/25
4                                                                               behalf [2] 2/11 19/20
                                      anticipate [1] 3/5
4112 [1] 1/13                         any [13] 2/21 8/24 9/4 9/18 10/10         being [6] 9/11 11/24 12/10 14/2 16/4
                                       10/21 11/24 12/6 12/12 12/21 12/22       18/8
5                                                                               believe [6] 3/16 6/7 7/18 9/21 10/23
                                       13/20 17/12
503 [1] 1/17                                                                    15/21
                                      anymore [1] 14/18
55 [1] 2/4                                                                      Bethesda [2] 7/21 14/1
                                      anything [1] 3/6
555 [1] 1/13                                                                    between [2] 19/6 19/13
                                      apartment [1] 12/19
                                      apologize [1] 12/15                       big [1] 6/13
B                                       computer-aided [1] 1/24                  detaining [1] 5/20
         Case 1:20-cr-00055-TFHconcern
                                  Document     20 Filed 03/20/20detention
                                       [1] 13/23
                                                                   Page [6]
                                                                          23 of
                                                                             1/8 27
                                                                                 2/20 11/2 11/16
bit [2] 5/15 5/18
                                        concerned [2] 13/13 15/8                 14/11 15/16
black [1] 6/17
                                        concerns [6] 2/21 13/15 14/9 15/25       did [8] 4/15 5/2 5/20 8/13 9/10 9/13
blameless [1] 16/15
                                         16/24 17/23                             9/13 17/8
body [2] 3/1 3/17
                                        conditions [6] 8/10 9/3 9/5 13/20        didn't [1] 12/24
bond [4] 4/13 4/16 4/25 16/23
                                         17/10 17/11                             different [2] 6/15 10/2
both [5] 2/14 4/3 6/10 9/13 17/23
                                        confident [1] 9/4                        differently [1] 11/24
bothersome [1] 14/20
                                        confined [1] 12/10                       difficulties [1] 9/16
bottles [1] 15/21
                                        confinement [1] 16/16                    digest [1] 4/11
bought [1] 3/12
                                        conflict [1] 2/16                        discharge [1] 9/9
bouts [1] 7/1
                                        conflicts [1] 7/24                       discharged [3] 6/6 6/20 16/10
brief [3] 5/11 5/12 19/11
                                        connection [1] 14/23                     discovered [1] 15/18
brought [1] 17/16
                                        consider [2] 17/25 18/12                 discovery [6] 2/22 3/1 3/5 4/6 4/18
buy [2] 4/21 16/2
                                        consideration [1] 14/14                  20/1
C                                       considered [1] 14/6                      discuss [1] 4/17
came [1] 11/10                          considering [2] 12/12 13/17              discussed [2] 4/9 15/19
camera [2] 3/2 3/17                     constitute [1] 21/8                      disputing [1] 6/18
can [22]                                Constitution [1] 1/22                    disrespect [1] 12/2
cannot [2] 16/16 17/11                  contacts [1] 16/1                        disrupting [1] 12/15
capture [1] 13/10                       context [1] 6/2                          distasteful [1] 12/1
care [3] 12/12 14/7 16/25               controlled [1] 4/20                      DISTRICT [7] 1/1 1/2 1/10 1/13 1/21
case [17] 2/23 5/24 6/1 7/10 7/13 8/8   cooperating [2] 15/5 15/17               21/3 21/3
 9/1 9/19 9/22 10/22 13/18 14/2 19/3    Corps [6] 6/8 7/4 9/8 9/24 9/25 16/10    do [16] 3/4 4/5 4/14 4/18 4/19 4/24 5/8
 19/24 19/24 19/25 21/6                 correct [3] 7/19 10/3 10/12              5/24 6/2 6/21 7/11 8/18 9/1 9/10 11/21
cash [2] 15/9 15/10                     could [4] 9/18 13/21 14/19 14/25         21/4
cast [1] 13/1                           couldn't [1] 17/12                       Docket [1] 1/4
Cathryn [4] 1/20 21/2 21/13 21/14       counsel [3] 19/3 19/16 19/24             does [6] 6/24 8/15 12/2 13/7 13/23
cause [1] 9/15                          counsel's [1] 11/8                       16/21
caused [1] 14/22                        country [3] 11/19 13/3 16/12             doesn't [3] 13/9 14/2 14/17
Center [1] 14/1                         court [25]                               dog [7] 6/23 6/24 7/5 12/10 12/18
certainly [5] 4/17 8/11 11/18 11/20     Court's [3] 4/1 17/22 17/23              12/21 16/14
 13/18                                  CR [1] 1/4                               dogs [1] 12/17
CERTIFICATE [1] 21/1                    crime [2] 12/22 13/1                     doing [1] 18/18
certify [2] 21/4 21/7                   criminal [8] 2/3 5/22 6/5 8/8 11/25      don't [18] 3/4 3/6 5/15 7/12 7/17 7/18
cetera [2] 3/20 12/12                    12/1 13/7 13/9                          8/9 8/12 12/4 12/16 12/17 12/21 14/19
chamber [3] 10/6 11/6 15/1              criminality [1] 13/5                     16/1 16/6 17/2 17/4 17/22
chance [3] 4/6 19/3 20/1                crying [1] 7/4                           downplay [2] 6/1 8/9
characteristics [1] 13/6                CTF [2] 12/15 14/7                       drug [8] 6/15 7/9 9/23 10/15 11/22
charge [1] 15/4                         curfew [2] 8/24 16/3                     14/23 15/4 15/19
charged [2] 8/18 13/4                   cycle [1] 7/15                           drugs [4] 7/14 15/20 15/23 15/23
circumstances [4] 9/7 13/17 14/12                                                during [1] 16/20
                                        D                                        duties [1] 18/2
 19/15
                                        D.C [2] 1/5 1/22                         duty [1] 6/11
classes [1] 8/24
                                        daily [1] 16/14
clean [1] 11/11                                                                  E
                                        damage [1] 14/22
clear [1] 18/24
                                        danger [5] 6/4 8/11 10/21 15/7 15/13     earlier [1] 2/16
cleared [1] 6/11
                                        dangerous [2] 10/9 12/21                 earn [1] 14/18
clerk [1] 2/14
                                        dangerousness [9] 5/21 9/19 10/19        East [1] 7/25
client [2] 4/12 19/9
                                        11/1 11/2 13/22 14/14 14/15 15/25        effect [1] 3/11
close [1] 8/16
                                        dangers [1] 17/12                        eight [2] 6/6 16/10
Colorado [2] 8/17 9/25
                                        date [1] 19/13                           either [2] 7/5 10/12
COLUMBIA [3] 1/2 1/13 21/4
                                        day [4] 11/14 15/24 18/19 21/11          Email [2] 1/15 1/19
combat [3] 9/11 9/13 11/23
                                        days [4] 4/11 7/18 17/19 18/8            embassies [1] 6/11
combination [1] 17/11
                                        DC [5] 1/14 1/18 13/15 16/21 17/2        emotional [3] 6/23 9/10 16/13
come [2] 11/19 12/3
                                        dealer [2] 6/16 15/14                    end [1] 11/14
comes [3] 11/25 12/1 17/14
                                        dealing [7] 7/9 9/23 10/15 11/22 12/19   engage [1] 11/21
comfortable [1] 17/4
                                        16/4 17/1                                enough [1] 12/5
coming [2] 3/20 7/24
                                        decision [2] 2/20 4/16                   enrolled [1] 8/5
comment [1] 10/20
                                        defendant [7] 1/6 1/16 10/25 11/17       enter [2] 16/25 17/6
comments [1] 11/8
                                        12/25 19/20 19/23                        entering [1] 15/24
commit [1] 12/22
                                        defendant's [1] 12/18                    entitle [1] 11/24
common [1] 8/23
                                        defending [1] 13/4                       entitled [1] 13/18
community [9] 8/11 13/22 14/15 15/7
 15/13 16/8 16/18 17/12 17/24           defense [1] 18/20                        essential [1] 16/14
                                        deny [2] 14/4 17/18                      essentially [1] 13/24
complete [1] 5/21
                                        deposited [1] 15/10                      et [2] 3/20 12/12
computation [1] 19/23
                                        detail [1] 6/10                          evade [1] 13/10
computer [1] 1/24
E                                                          HISP [2] 8/21 8/23
         Case 1:20-cr-00055-TFHG Document 20 Filed 03/20/20history
                                                              Page    24 of 27
                                                                   [4] 6/5 10/20 17/3 17/15
even [5] 6/11 8/13 13/2 16/3 18/2         George [2] 8/4 8/5
                                                                                   HOGAN [1] 1/9
everything [2] 3/2 4/7                    get [8] 7/6 7/17 12/13 16/4 16/5 16/23
                                                                                   hold [1] 4/16
evidence [10] 4/21 5/13 14/14 15/7        17/7 20/1
                                                                                   home [1] 16/16
 15/8 15/10 15/14 15/21 17/9 17/14        getting [1] 14/8
                                                                                   honestly [1] 9/21
examine [1] 19/3                          give [5] 2/23 4/11 4/24 14/5 19/2
                                                                                   honor [46]
excellent [1] 17/3                        given [1] 11/9
                                                                                   honorable [2] 1/9 9/9
excluded [1] 19/22                        gmail.com [1] 1/19
                                                                                   honorably [2] 6/6 16/10
excuse [1] 11/21                          go [4] 4/7 4/12 4/25 12/4
                                                                                   hope [1] 16/19
execute [1] 12/20                         going [11] 4/10 7/1 7/11 8/2 10/13
                                                                                   Hopefully [1] 19/2
experience [2] 15/2 15/2                  14/4 14/4 14/6 18/18 19/4 19/18
                                                                                   hospital [3] 7/19 7/21 9/12
experienced [1] 7/4                       good [7] 2/7 2/10 2/12 2/13 11/13
                                                                                   hour [2] 8/22 16/3
experiences [1] 8/2                       18/19 20/6
                                                                                   house [4] 8/22 12/6 17/25 18/5
explain [1] 6/3                           got [3] 18/14 18/16 18/17
                                                                                   how [6] 12/9 14/19 15/3 17/2 17/4
extend [1] 20/3                           gotten [1] 2/19
                                                                                   18/21
extent [1] 6/22                           government [12] 1/12 5/2 5/8 5/25
                                                                                   however [2] 12/11 16/16
extreme [1] 14/15                         6/13 8/13 10/2 10/18 15/9 18/21 19/4
                                          20/2                                     I
F                                         government's [3] 5/11 17/9 19/14
                                                                                   I'd [1] 17/13
facility [1] 16/21                        gray [1] 6/17
                                                                                   I'll [1] 13/25
fact [4] 12/23 12/25 13/2 13/8            grew [4] 7/20 9/24 10/1 14/1
                                                                                   I'm [11] 4/10 6/1 7/1 7/11 10/11 14/4
factor [1] 15/15                          grounds [1] 7/21                          14/4 14/6 14/16 18/11 19/18
factors [3] 11/15 14/10 14/11             growing [1] 13/25
                                                                                   I've [4] 2/19 16/15 18/14 18/16
facts [1] 11/15                           grown [1] 10/7
                                                                                   identify [1] 2/5
fairly [1] 15/13                          guard [1] 6/10
                                                                                   immediate [1] 15/17
faith [1] 11/13                           guess [1] 4/9
                                                                                   immediately [1] 13/20
family [6] 8/16 8/17 9/25 11/18 14/3      gun [4] 10/5 10/6 10/8 10/12
 14/17                                                                             imminently [1] 10/9
                                          H                                        important [3] 5/19 6/19 7/7
far [1] 13/6
                                                                                   impose [1] 17/13
fashion [2] 8/10 9/3                      had [16] 2/16 2/18 3/11 3/14 4/6 4/6
                                                                                   impression [1] 7/17
father [1] 9/23                           10/2 10/13 10/25 12/10 14/25 16/9
                                                                                   incidents [1] 7/6
favor [3] 11/2 11/15 14/11                16/11 16/14 20/1 21/5
                                                                                   inclined [1] 4/14
fear [1] 7/5                              half [1] 15/11
                                                                                   include [1] 14/8
feel [2] 9/4 17/4                         halfway [2] 17/25 18/5
                                                                                   included [1] 15/21
file [3] 3/3 4/5 4/15                     handgun [1] 17/2
                                                                                   including [1] 3/1
filed [2] 4/13 5/12                       handle [1] 15/1
                                                                                   incorrect [2] 10/3 10/10
find [4] 11/8 12/7 16/16 17/11            handled [1] 16/19
                                                                                   indicate [1] 15/12
finding [1] 5/3                           hard [1] 7/20
                                                                                   individual [2] 6/14 6/15
findings [3] 13/16 14/5 19/18             has [12] 3/3 5/2 6/5 6/22 7/10 8/13
                                                                                   inference [1] 9/18
fine [1] 2/17                             8/15 8/25 11/13 14/17 15/1 16/24
                                                                                   information [1] 4/2
firearm [5] 3/6 11/5 11/7 14/23 14/24     have [31]
                                                                                   innocence [1] 13/19
firearms [2] 9/25 15/2                    haven't [2] 3/18 18/4
                                                                                   intense [1] 13/2
first [4] 2/24 5/8 5/9 11/5               having [4] 6/21 12/10 12/11 13/15
                                                                                   intensity [2] 16/6 16/17
flight [6] 8/12 10/21 10/25 13/21 14/15   he [65]
 14/16                                                                             interest [2] 19/19 19/20
                                          he's [21] 6/15 8/4 8/5 8/11 8/16 8/17
                                                                                   interested [1] 3/24
flush [1] 5/17                            11/13 11/18 12/13 13/18 14/7 14/16
                                                                                   interesting [1] 11/9
focuses [1] 5/25                          15/13 15/13 16/11 16/13 16/14 16/23
                                                                                   invoked [1] 3/12
following [4] 9/4 14/5 18/13 18/14        17/7 19/12 20/1
                                                                                   involved [2] 7/13 9/19
footage [3] 3/2 3/17 3/18                 health [11] 6/21 7/8 8/25 12/10 12/16
                                                                                   involves [1] 9/2
foregoing [1] 21/7                        13/14 13/24 16/22 16/24 17/24 18/2
                                                                                   is [40]
former [1] 9/23                           hear [5] 2/21 5/1 5/1 5/8 5/10
                                                                                   issue [1] 8/12
forth [1] 17/14                           hearing [7] 1/8 4/4 5/7 17/19 17/23
                                                                                   issues [3] 6/21 9/10 19/25
forward [1] 2/5                           18/17 19/13
                                                                                   it [23]
fought [1] 11/19                          hearings [1] 18/15
                                                                                   it's [15] 3/3 3/16 5/19 6/19 6/24 6/25
found [5] 10/24 11/1 11/6 16/8 18/5       help [2] 7/6 14/9
                                                                                    7/20 7/21 11/21 14/21 14/23 16/11
four [1] 15/5                             helping [1] 8/6
                                                                                    19/4 19/16 19/19
Fourth [1] 1/13                           here [7] 8/16 11/12 14/17 14/17 14/17
frame [1] 4/10                            14/22 16/21                              J
frankly [1] 12/1                          hereby [1] 21/4
                                                                                   JACOB [2] 1/5 2/3
friend [2] 8/16 14/17                     hereto [1] 21/10
                                                                                   Jahn [4] 3/1 3/3 4/3 4/14
full [2] 3/1 5/16                         high [3] 15/13 16/6 16/17
                                                                                   Jahn's [1] 4/5
fully [1] 8/5                             highly [1] 13/6
                                                                                   jail [1] 13/16
functioning [1] 16/14                     him [14] 4/16 5/12 7/6 8/3 8/6 8/24
                                                                                   James [2] 1/12 2/7
further [7] 3/5 3/12 4/10 8/4 17/22       11/24 12/18 12/21 12/22 13/18 14/9
                                                                                   james.nelson [1] 1/15
 19/3 21/7                                16/23 18/1
                                                                                   Jon [3] 1/16 1/17 2/11
furtherance [1] 9/22                      himself [1] 7/14
                                                                                   Jones [4] 1/20 21/2 21/13 21/14
future [1] 17/14                          his [50]
J                                          Marines [1] 6/6                          Nelson [10] 1/12 2/8 2/9 2/22 2/24 4/1
         Case 1:20-cr-00055-TFHmaterials
                                 Document       20 Filed 03/20/204/3Page
                                         [1] 2/19
                                                                           25 18/22
                                                                     4/8 10/11 of 27
jonnorrislaw [1] 1/19
                                          matter [6] 2/2 2/15 12/11 16/20 18/16     neuroscience [1] 8/4
JORDAN [13] 1/5 2/3 2/11 4/12 4/22
                                          19/5                                      new [1] 19/15
 5/20 6/14 6/25 14/6 14/13 15/10 16/1
                                          matters [1] 18/15                         next [2] 9/20 19/13
 19/1
                                          may [6] 3/20 12/12 12/23 13/8 14/9        night [2] 7/2 7/3
Jordan's [3] 2/19 5/15 13/14
                                          17/16                                     no [9] 1/4 3/12 6/5 10/24 11/6 11/11
judge [7] 1/9 1/10 2/20 5/20 10/24
                                          maybe [1] 7/16                            16/24 17/6 18/4
 13/17 16/8
                                          me [17] 2/23 2/24 3/23 4/11 5/1 5/9       Norris [11] 1/16 1/17 2/11 2/12 3/4
judge's [3] 4/16 5/13 10/20
                                          5/10 7/20 10/3 10/12 10/18 13/15          3/23 11/12 12/25 13/25 17/16 19/24
judgment [1] 14/2
                                          13/23 16/11 18/21 18/24 18/24             not [37]
June [1] 19/7
                                          mean [1] 8/9                              note [3] 5/19 6/19 11/4
just [16] 3/18 3/19 4/2 4/4 4/6 5/4 6/22
 8/7 9/11 12/24 15/25 17/17 17/23 18/3    medical [6] 9/8 12/12 12/16 14/1 14/7     notes [1] 21/9
                                          16/11                                     now [11] 3/24 5/24 6/15 7/21 12/10
 19/8 19/25
                                          medicating [1] 7/12                       15/15 16/15 18/8 19/6 19/7 19/13
justice [1] 19/20
                                          medication [2] 11/9 14/9                  number [2] 6/9 7/22
K                                         meet [2] 16/5 18/1                        numerous [1] 15/21
know [13] 3/23 9/15 11/17 11/20 11/20 meetings [1] 18/3                             nurse [1] 7/23
 11/23 12/15 12/16 12/18 12/21 12/23 men [1] 8/1                                    NW [2] 1/13 1/17
 14/19 17/2                               mental [7] 6/20 7/8 8/25 12/16 16/22
                                          17/24 18/1                                O
knowledge [2] 8/1 13/10
                                          mentioned     [1] 12/25                   o'clock [2] 2/16 18/17
knows [2] 5/5 15/3
                                          Meriweather [2] 10/24 16/8                obtained [1] 10/14
L                                         meth [1] 3/11                             obviously [3] 4/19 13/16 15/24
lack [5] 5/21 10/19 13/7 13/21 13/21 methamphetamine [5] 12/5 12/19                 occurred [1] 7/10
large [3] 14/21 16/2 17/1                 14/21 15/5 16/3                           occurs [1] 7/16
larger [1] 8/7                            methamphetamines [1] 17/1                 offense [4] 6/19 14/12 14/20 14/24
last [1] 15/11                            middle [2] 7/2 7/24                       offensive [1] 12/8
LAW [1] 1/17                              might [1] 17/25                           OFFICE [1] 1/12
lay [1]   7/11                            military [8] 6/8 9/23 10/13 10/14 11/18   officer [3] 13/1 13/4 13/8
layman's [1] 7/1                          13/1 14/3 15/3                            OFFICES [1] 1/17
least [4] 15/12 15/15 16/20 17/9          minutes   [1] 4/4                         official [4] 1/21 21/2 21/8 21/14
left [1] 15/5                             Miranda   [1] 3/14                        Okay [1] 9/15
legal [1] 17/2                            moment [2] 12/25 19/9                     one [6] 4/25 6/9 9/17 11/19 12/6 15/23
less [2] 12/21 12/22                      money [2] 14/18 16/5                      only [5] 11/17 11/19 13/3 15/8 18/1
let [6] 2/23 3/23 5/1 5/10 10/18 18/21 month [1] 15/11                              opposition [1] 5/12
level [2] 13/5 15/14                      more [7] 4/24 7/16 8/22 13/2 13/2 13/6    order [1] 5/5
licensed [1] 14/24                        16/21                                     ordered [1] 2/20
life [2] 15/2 16/15                       morning    [4] 2/7 2/10 4/4 18/23         orderly [1] 7/23
light [1] 13/2                            most  [1]  7/23                           orders [1] 9/4
likely [3]   6/3 12/22  18/11             motion  [2]   4/13 17/18                  originally [2] 3/17 8/17
line [1] 12/7                             motions [1] 3/20                          other [8] 4/21 8/25 9/17 11/25 13/4
literally [1] 7/4                         move [1] 8/22                             14/9 15/19 15/21
little [2] 5/14 5/18                      moved [1] 2/15                            our [3] 3/7 11/19 14/22
live [1] 14/19                            Mr [28]                                   out [7] 4/3 5/18 7/4 12/4 12/7 16/3
lives [1] 12/4                            Mr. [4] 2/19 4/4 4/8 14/6                 16/23
lock [1] 11/10                            Mr. Jordan [1] 14/6                       over [1] 4/12
long [1] 12/11                            Mr. Jordan's [1] 2/19                     overcome [2] 10/25 17/12
look [1] 19/3                             Mr. Nelson [1] 4/8                        own [1] 12/4
looks [1] 18/22                           Mr. Smith [1] 4/4
                                          Ms [3] 3/1 3/3 4/5                        P
lot [3] 11/21 12/3 14/13
                                          Ms. [2] 4/3 4/14                          p.m [2] 8/23 20/10
M                                         Ms. Jahn [2] 4/3 4/14                     packaging [2] 15/20 15/22
machine [3] 1/24 21/4 21/9                much [1] 14/22                            pages [1] 21/7
made [4]     3/3 3/9 3/10 4/1             must [2] 13/13 16/2                       paraphernalia [1] 15/20
magazine [5] 10/5 10/5 11/5 11/7          my [12] 2/15 3/3 4/9 4/12 6/24 9/20       part [3] 6/19 6/24 7/7
 14/25                                    10/1 10/4 10/10 19/9 21/9 21/10           particularly [1] 13/23
magistrate [8] 2/20 4/16 5/5 5/13 5/19 N                                            parties [3] 2/5 5/6 19/1
 10/20 10/24 13/17                                                                  passport [2] 8/14 8/14
make [2] 14/5 19/18                       N.W [1] 1/22                              patients [1] 7/24
makes [3] 6/13 12/21 12/22                name [1] 21/11                            pause [1] 19/11
making [1] 11/13                          narcotics [1] 3/6                         pending [2] 2/21 13/18
managed [1] 16/25                         nature [2] 14/12 14/20                    people [5] 7/15 11/20 11/21 12/3 13/4
many [2] 5/22 11/20                       Naval [1] 7/21                            person [3] 3/12 11/17 13/6
March [2] 1/5 21/11                       near [1] 10/5                             personal [1] 13/10
Marine [9]     6/8 6/10 6/12 6/20 7/4 9/8 need [4] 4/19 12/12 17/19 19/16           phone [1] 16/4
 9/24 9/24 16/10                          needs [1] 13/24                           picture [2] 5/16 8/7
P                                     reasons [5] 8/20 9/8 14/5 16/11 17/8      selling [2] 15/20 15/22
         Case 1:20-cr-00055-TFHreceived
                                  Document      20 Filed 03/20/20SENIOR
                                        [2] 4/5 6/8
                                                                   Page[1]261/9
                                                                             of 27
place [1] 9/5
                                      reconsider [1] 17/13                      seriousness [4] 5/24 5/25 6/18 8/9
placed [2] 13/15 16/16
                                      record [6] 2/3 2/6 3/9 5/22 13/7 13/9     serve [2] 9/13 13/3
placement [1] 18/1
                                      recorded [1] 1/24                         served [2] 13/1 16/9
Plaintiff [1] 1/3
                                      recovering [1] 7/8                        service [8] 6/7 6/20 6/23 6/24 12/2
pleading [1] 10/2
                                      recruiter [1] 9/24                         12/10 12/17 12/18
pleadings [1] 5/6
                                      Reed [2] 7/19 7/22                        serving [2] 9/12 16/12
please [2] 2/6 2/24
                                      referred [1] 7/21                         set [4] 13/20 18/15 18/16 18/16
point [3] 6/10 8/22 9/18
                                      regard [2] 11/8 16/8                      setting [1] 18/12
police [6] 6/8 11/6 12/20 13/1 13/3
13/8                                  register [1] 12/24                        settle [1] 4/25
                                      release [8] 5/12 8/10 9/8 11/3 16/7       seven [2] 12/5 15/4
positive [4] 5/22 5/23 11/11 16/9
                                       17/5 17/18 18/1                          several [1] 9/14
possessing [1] 14/22
                                      released [3] 12/13 13/19 17/5             severe [3] 7/23 9/15 18/6
possession [1] 3/7
                                      reliving [1] 7/3                          she [3] 4/6 4/15 11/1
post [1] 6/21
                                      rely [1] 16/1                             shorthand [3] 1/24 21/5 21/9
potential [1] 3/5
                                      report [1] 11/10                          should [3] 4/24 11/24 13/19
pounds [3] 12/5 15/4 15/6
                                      reported [1] 21/4                         show [1] 8/11
premises [1] 4/22
                                      Reporter [3] 1/21 21/2 21/14              since [2] 14/1 17/17
prepare [1] 19/23
                                      representations [2] 4/1 10/19             sir [1] 10/17
prepared [2] 4/13 4/17
                                      request [1] 14/4                          situation [15] 2/19 5/11 9/12 11/12
present [2] 5/6 16/5
                                      requirements [1] 8/23                      12/9 13/14 13/14 13/15 13/24 14/8
presented [1] 16/11
                                      reschedule [1] 17/19                       16/5 16/22 17/7 17/15 19/4
presents [2] 13/22 15/6
                                      resolve [2] 12/11 19/5                    skill [1] 13/10
presidential [1] 6/11
                                      respectfully [1] 12/6                     sleep [1] 7/3
presumption [3] 5/21 11/1 13/19
                                      responsibility [1] 6/9                    Smith [3] 2/14 4/4 15/8
pretrial [3] 11/10 15/16 17/18
                                      result [1] 11/23                          so [18] 3/4 4/5 4/14 4/17 4/23 5/4 5/7
prior [3] 6/5 10/13 15/11
                                      results [1] 11/9                           8/7 8/20 9/24 11/11 12/20 14/22 15/11
probably [2] 7/14 18/16
                                      retained [3] 4/2 17/17 19/25               17/4 17/10 18/9 19/23
problems [1] 18/6
                                      review [6] 4/7 4/19 5/2 19/16 19/24       society [2] 6/4 14/22
proceed [1] 2/18
                                       20/2                                     sold [2] 3/11 15/23
proceedings [5] 1/24 3/24 20/9 21/5
21/8                                  reviewed [2] 3/18 5/5                     some [8] 3/10 4/20 4/24 5/22 7/3 7/23
                                      reviewing [2] 4/18 17/10                   8/22 17/5
produced [2] 1/24 15/10
                                      right [14] 2/9 3/8 3/14 3/19 3/22 10/16   someday [1] 13/25
professionals [1] 18/2
                                       13/11 15/15 18/10 18/17 18/25 19/7       something [5] 7/11 9/25 10/2 10/12
program [2] 8/21 8/23
                                       19/10 19/18                               10/14
promotions [1] 6/9
                                      rights [1] 19/13                          somewhere [1] 18/9
properly [1] 16/19
                                      risk [6] 8/12 10/24 11/2 12/7 14/14       sort [3] 7/7 8/25 10/7
protecting [1] 13/4
                                       14/16                                    source [2] 15/6 15/17
protocol [1] 10/7
                                      room [3] 1/13 1/21 11/18                  speak [1] 19/9
provided [2] 3/1 3/17
                                      round [2] 10/6 11/6                       speaks [1] 13/6
PTSD [5] 7/8 9/10 11/20 11/22 12/3
                                      RPR [2] 1/20 21/14                        speedy [7] 19/6 19/7 19/13 19/19
public's [1] 19/19
                                      ruling [2] 5/14 17/22                      19/21 19/22 20/3
purchase [1] 15/17
                                                                                start [5] 2/24 5/18 7/15 7/16 8/21
purchased [1] 15/6                    S                                         started [3] 4/5 7/12 7/14
purposes [1] 10/15
                                      safety [4] 10/7 16/7 16/18 17/24          statements [3] 3/9 3/11 4/20
pursuant [1] 15/18
                                      said [5] 4/8 5/2 13/23 16/17 21/8         STATES [7] 1/1 1/3 1/10 1/12 2/3 2/8
pursuing [1] 3/24
                                      sake [1] 13/14                             21/3
put [2] 6/2 9/5
                                      sale [2] 15/5 15/24                       status [1] 4/11
Q                                     same [1] 13/16                            step [1] 2/5
                                      satisfy [1] 13/21                         stepping [1] 12/7
quantities [4] 7/13 9/2 16/2 17/1
                                      say [2] 5/2 13/13                         still [2] 11/1 16/25
quantity [1] 14/21
                                      saying [1] 5/19                           stoop [1] 13/5
question [1] 9/20
                                      schedule [1] 2/15                         Street [2] 1/13 1/17
questions [1] 3/13
                                      school [1] 18/2                           strength [3] 14/13 15/14 17/8
quite [3] 3/18 6/17 17/2
                                      scrupulously [1] 9/5                      stress [1] 6/21
R                                     search [4] 4/22 12/20 15/18 15/18         strong [1] 15/7
rare [1] 9/1                          secure [1] 18/5                           strongly [1] 14/13
rather [2] 10/25 11/3                 security [1] 6/10                         studies [1] 8/4
reached [1] 4/3                       see [5] 2/12 2/13 17/4 19/4 20/6          studying [1] 8/4
read [1] 5/11                         seeing [1] 11/23                          submit [1] 7/9
reading [2] 3/8 5/14                  seems [1] 15/12                           submitted [1] 5/6
ready [1] 2/18                        seized [1] 4/21                           subscribed [1] 21/10
really [4] 4/9 7/6 8/7 8/12           self [2] 7/12 11/9                        substantial [3] 15/24 16/2 16/12
reason [1] 10/10                      self-medicating [1] 7/12                  suffer [1] 16/21
reasonable [1] 11/14                  self-medication [1] 11/9                  suffers [1] 11/23
reasonably [1] 16/7                   sell [2] 7/15 7/16                        sufficient [2] 16/7 16/17
S                                         today [7] 2/15 4/14 4/25 8/16 17/17     8/6
         Case 1:20-cr-00055-TFH18/8
                                 Document
                                    19/21 20 Filed 03/20/20wayPage   27 of 27
                                                               [3] 4/25 10/12 17/6
suggest [1] 4/10
                                          tours [1] 9/14                         we [18] 2/18 2/21 2/22 2/23 2/25 3/2
suggestion [1] 11/22
                                          track [1] 4/7                          3/4 3/4 3/6 4/10 4/17 4/23 4/24 6/2 6/3
Suite [1] 1/17
                                          trafficking [2] 14/24 15/4             8/20 9/1 11/12
supervised [2] 16/6 17/5
                                          training [2] 13/8 15/3                 we'll [5] 4/24 18/25 19/1 20/3 20/3
support [3] 6/23 8/15 16/13
                                          transcribed [1] 21/9                   we're [4] 2/18 6/18 18/9 18/18
sure [2] 10/11 14/16
                                          transcript [3] 1/8 1/24 21/8           we've [1] 4/9
survive [1] 14/19
                                          transcription [1] 1/24                 weapon [4] 9/19 9/21 9/22 14/25
suspect [1] 12/17
                                          transfer [1] 14/7                      Wednesday [1] 1/5
suspend [2] 19/20 19/21
                                          trauma [2] 7/24 16/12                  week [3] 18/12 18/13 18/14
syndrome [1] 6/22
                                          traumatic [1] 6/21                     weigh [2] 11/15 14/11
T                                         treated [1] 11/24                      weighed [1] 11/2
take [1] 4/23                             treatment [4] 12/16 12/16 16/13 16/25  weighs [1] 15/15
taken [1] 16/15                           trial [9] 2/21 18/11 19/6 19/7 19/13   well [7] 2/22 4/22 5/4 8/19 10/23 11/21
takes [1] 12/11                            19/19 19/21 19/22 20/3                15/22
taking [1] 12/4                           trying [1] 6/1                         went [1] 6/8
talk [1] 13/25                            turn [1] 8/14                          were [7] 3/13 6/20 8/2 9/7 9/25 15/23
talking [1] 18/9                          two [2] 11/4 18/14                     15/23
tell [1] 6/16                             type [2] 7/13 17/5                     Wesson [1] 15/9
ten [2] 2/16 18/17                        types [2] 7/6 9/2                      what [14] 2/23 3/24 4/12 5/1 6/24 7/1
tendency [1] 16/20                                                               8/2 9/7 9/12 11/11 11/15 15/22 17/15
                                          U                                      19/6
term [2] 7/12 7/20
                                          U.S [1] 1/21                           whatever [2] 8/18 17/8
terms [3] 3/5 6/9 7/2
                                          U.S.C [1] 14/10                        when [6] 3/8 6/20 11/5 12/19 12/20
terrors [1] 7/2
                                          uncommon [2] 6/25 7/15                 12/25
test [1] 11/9
                                          under [7] 14/10 16/3 16/13 16/25       where [7] 2/22 2/23 3/23 9/2 11/12
testimony [1] 21/5
                                           17/10 19/15 19/19                     14/8 14/19
testing [1] 3/5
                                          understand [6] 5/14 5/24 5/25 6/13     whereof [1] 21/10
tests [1] 11/11
                                           12/14 17/22                           whether [1] 14/23
TFH [1] 1/4
                                          understanding [5] 3/3 6/25 10/1 10/4 which [5] 9/18 11/10 14/12 14/21
than [4] 8/7 11/3 11/24 13/7
                                           10/11                                 15/12
thank [13] 2/14 2/25 3/22 5/7 5/17
                                          undisputed [1] 15/15                   while [7] 5/20 6/7 6/18 10/4 10/13
 10/16 10/17 13/11 13/12 18/7 20/5
                                          unfair [1] 16/22                       10/15 16/12
 20/7 20/8
                                          unfortunately [1] 14/11                white [1] 6/17
that [135]
                                          uniform [1] 13/3                       who [3] 8/16 15/6 19/24
that's [9] 2/17 6/14 7/18 7/19 9/19
 11/13 13/18 15/19 17/2                   UNITED [7] 1/1 1/3 1/10 1/12 2/3 2/8 whole [1] 13/2
                                           21/3                                  whose [1] 11/19
their [4] 10/2 12/2 12/4 12/5
                                          University [2] 8/5 8/6                 why [4] 6/3 10/21 13/9 14/5
them [1] 15/3
                                          until [3] 12/24 16/15 19/21            will [7] 4/11 8/11 10/3 10/11 17/17
then [12] 3/12 5/13 7/14 8/22 13/5
 14/22 15/9 15/18 19/1 19/6 20/3 20/4     up [13] 3/20 4/23 4/25 7/2 7/20 9/24   19/2 19/22
                                           10/1 10/7 11/10 12/3 13/25 14/1 17/16 willing [4] 8/14 8/18 17/13 19/12
there [15] 6/20 7/5 7/22 8/7 10/4 10/6
 10/24 11/6 12/17 12/19 13/20 14/1        update [1] 2/23                        wind [1] 12/3
 15/9 17/14 18/5                          upon [2] 4/15 16/1                     wise [1] 7/8
                                          usdoj.gov [1] 1/15                     within [1] 15/1
there's [6] 4/20 6/17 9/17 10/21 15/21
 17/6                                     use [8] 7/1 7/11 7/15 7/20 9/3 13/9    without [3] 4/16 14/18 16/3
                                           15/3 15/24                            witness [1] 21/10
Thereupon [1] 20/9
                                          used [3] 6/14 9/22 15/22               women [1] 8/1
these [3] 7/18 9/2 16/1
                                          user [1] 15/23                         wondered [1] 17/25
they [12] 5/11 5/13 7/15 7/16 8/2 8/19
 10/3 11/15 12/4 12/17 12/17 17/11        using [1] 7/14                         working [1] 7/23
                                          usually [1] 6/16                       works [2] 18/24 18/25
they're [1] 8/18
things [4] 5/23 6/16 7/3 11/4                                                    worn [2] 3/2 3/17
                                          V                                      would [16] 5/18 7/9 8/14 8/24 9/5 11/4
think [21] 4/19 4/24 5/17 5/19 6/2 6/19
                                          VA [2] 8/3 8/6                         12/23 13/3 14/8 14/19 16/7 16/19
 7/7 7/12 7/14 8/7 8/10 8/12 8/20 9/1
                                          versus [1] 2/3                         16/22 17/7 17/11 18/12
 10/1 11/11 14/16 15/14 16/1 16/6
                                          very [6] 5/4 7/25 8/15 9/3 15/6 18/5
 19/16                                                                            Y
thinking [1] 3/19                         W                                       years [3] 6/6 7/22 16/10
this [39]                                 waive [1] 19/12                         Yes [5] 2/25 3/10 3/21 3/25 17/21
THOMAS [1] 1/9                            wakes [1] 7/2                           yesterday [1] 4/2
those [4] 7/6 8/20 11/20 13/24            Walter [2] 7/19 7/22                    yet [2] 3/18 4/6
though [1] 8/13                           want [3] 5/8 7/17 17/22                 you [25]
through [5] 3/8 4/7 7/6 8/2 16/17         wanted [2] 2/14 8/21                    you're [2] 3/24 4/17
ties [1] 17/3                             warning [1] 3/14                        young [1] 7/25
time [16] 3/2 3/4 3/7 3/15 4/10 4/11      warrant [3] 4/22 12/20 15/18
 4/17 4/19 4/23 4/24 12/6 13/16 17/13                                             your [47]
                                          was [44]                                yourselves [1] 2/6
 17/17 17/18 19/21                        Washington [6] 1/5 1/14 1/18 1/22 8/5
Title [1] 17/10
